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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION


INRE:                                                                  CASE NO.: 18-25282-BKC-LMI
                                                                    PROCEEDING UNDERCHAPTER 13
YIPSIAN HANO
ALCIDES DE JESUS MORALES


  - - - - - - - - - - -I
DEBTORS
-

                           TRUSTEE'S MOTION TO DISMISS AND
                     CERTIFICATE OF SERVICE OF NOTICE OF HEARING


   COMES NOW Nancy K. Neidich, Standing Chapter 13 Trustee, and files her Motion to Dismiss
pursuant to 11 U.S.C. Section 1307(c) for the reasons set forth below:

   1. Material change prejudicial to creditors in payment terms resulting from unscheduled, unlisted, or
      improperly listed tax or other claims.

   2. The Trustee faxed to the counsel of record a letter requesting the issue be addressed. See attached
      letter with fax confirmation.

   WHEREFORE, the Trustee requests the case be dismissed for failure to address the issue stated therein.


   I CERTIFY that a true and correct copy of the foregoing Trustee's Motion to Dismiss and Notice of
Hearing was mailed to those parties listed below on I/ / 8 / Zc 1 ''i


                                                           NANCY K. NEIDICH, ESQUIRE
                                                           STANDING CHAPTER 13 TRUSTEE
                                                           P.O. BOX 279806
                                                           MIRAMAR, FL 33027-9806

                                                          By: /s/===r"'J~====
                                                          o Adisley C ez-Rodriguez, Esq.
                                                             FLORIDA BAR NO: 0091727
                                                          Y'~my Carrington, Esq.
                                                             FLORIDA BAR NO: 101877
                                                           o Jose Ignacio Miceli, Esq.
                                                              FLORIDA BAR NO: 0077539
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                                        NOTICE OF HEARING AND TRUSTEE'S MOTION TO DISMISS
                                                                CASE NO.: 18-25282-BKC-LMI

                           CERTIFICATE OF SERVICE

COPIES FURNISHED TO:

NANCY K. NEIDICH
STANDING CHAPTER 13 TRUSTEE
P.O. BOX 279806
MIRAMAR, FL 33027-9806

By Mail:
DEBTORS
YIPSIAN HANO
ALCIDES DE JESUS MORALES
8816 NW 181 STREET
HIALEAH, FL 33018

Via Electronic Service:
ATTORNEY FOR DEBTORS
RICARDO R. CORONA, ESQ.
3899 NW 7 STREET
# 202-B
MIAMI, FL 33126
                              Case 18-25282-LMI              Doc 78       Filed 11/08/19         Page 3 of 4

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         OFFICE OF THE CHAPTER 13 STAND1NG TRUSTEE
         Southern District of Florida



                                                                                             NANCY K. NEIDICH, TRUSTEE
                                                                                                          P.O. Box 279806
                                                                                                    Miramar, Florida 33027
                                                                                                            (954) 443-4402
                                                                                                 Facsimile: (954) 443-4452
          1010212019



          To: RlCARDO R. CORONA, ESQ


           Re: HANO                                      Case: 18-25282- LMI


         Dem· R!CA.RDO R. CORONA, ESQ


        ·rhe Trustee bas recommended confirmation of a Plan in the ahove-reforenced case based upon your assurance
        that the creditor had <lgreed to the Debtor's treatment of its collateral.


         Creditor: JPlvIORGAN CHASE BK

         Other: CREDITOR PROVIDED FOR IN PL1\.N-D1PA Y, HO\VEVER UIS PORTION LISTED



        The Debtor is directed to either file a Motion to !Vlodii}' the Confirmed Plan to include the amount li~ted in the
        Proof of Claim, or an Objection to the Proof of Claim within hventy (20) days of this and the Trnstee may file iJ
        ]\/lotion to Dismiss this case with prejudice for six (6) months.



         Very truly your:;,



         Claims i\dministrator
         OFFICE OF THE CHAPTER 13 STAJ\1DH~G TRUSTEE
                            Case 18-25282-LMI             Doc 78        Filed 11/08/19           Page 4 of 4
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        OFFICE OF THE CHAPTER 13 ST ANDING TRUSTEE
        SOUTHERN DISTRICT OF FLORIDA
                                                                                       NANCY K. NEIDICH, ESQUIRE
                                                                                       STANDING CHAPTER 13 TRUSTI'.E
                                                                                       P. 0. BOX 279806
                                                                                       MIRAMAR, FL 33027-9806
                                                                                       TELEPHOJ\TE: (954) 443-4402
                                                                                       FACSIMILE: (954) 443-4452


        October 02, 2019

        RICARIX) R. CORONA, ESQ.
        3899 NW 7 STREET
        # 202-B
        MIA!Vll, FL 33126
        Case: 18-25282-BKC-LMI                               RE: YIPSIAN HANO
                                                                 ALCIDES DE JESUS MORALES



        Dear RICARDO R. CORONA, ESQ.


        More tlum thirty days have passed since the claims bar date on February 20, 2019. You have failed to file the
        Notice of C.ompliance by Attorney for Debtor required by Local Rule 2083-l(B) Claims Review Requirement,
        also know as Local Fon11 76.

        The scope of the review required states: "Not later than 21 days after expiration of the claims bm· date, tbe
        attorney shall examine, from i-ecords maintained by the clerk, the claims register and all claims filed in the case
        to detennine whether additional action is necessaJ)', including the filing and service in accordance with all
        applicable rules of: (a) m1 amended plan if the plan has not been confo111ed; (b) a motion to modif\1 the
        confomcd plan; (c) objeGtions to nonconfo1ming claims." Local Rule 2083-1 (B)(l)

        You must file a Local Fon11 76 within twenty (20) clays of this le.tter or the Tndcc may file a Motion to Dismiss
        this case

        Very truly yours,


        Claims Administrator
